 1                                                                 The Honorable Marsha J. Pechman

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
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     YOLANY PADILLA; IBIS GUZMAN; BLANCA
10   ORANTES; BALTAZAR VASQUEZ;
                                                                    No. 2:18-cv-928 MJP
11                                       Plaintiffs-Petitioners,
            v.                                                      THIRD AMENDED
12                                                                  COMPLAINT:
     U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT                       CLASS ACTION FOR
13
     (“ICE”); U.S. DEPARTMENT OF HOMELAND                           INJUNCTIVE AND
14   SECURITY (“DHS”); U.S. CUSTOMS AND BORDER                      DECLARATORY RELIEF
     PROTECTION (“CBP”); U.S. CITIZENSHIP AND
15   IMMIGRATION SERVICES (“USCIS”); EXECUTIVE
     OFFICE FOR IMMIGRATION REVIEW (“EOIR”);
16   MATTHEW ALBENCE, Acting Deputy Director of ICE;
17   KEVIN K. McALEENAN, Acting Secretary of DHS;
     JOHN P. SANDERS, Acting Commissioner of CBP; L.
18   FRANCIS CISSNA, Director of USCIS; ELIZABETH
     GODFREY, Acting Director of Seattle Field Office, ICE;
19   WILLIAM BARR, United States Attorney General;
     LOWELL CLARK, warden of the Northwest Detention
20   Center in Tacoma, Washington; CHARLES INGRAM,
21   warden of the Federal Detention Center in SeaTac,
     Washington; DAVID SHINN, warden of the Federal
22   Correctional Institute in Victorville, California; JAMES
     JANECKA, warden of the Adelanto Detention Facility;
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                                     Defendants-Respondents.
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     THIRD AMENDED COMPL.                                    NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:18-cv-928 MJP                                             615 Second Avenue, Suite 400
                                                                                     Seattle, WA 98104
                                                                              Telephone (206) 957-8611
 1                                      I.      INTRODUCTION
 2          1.      Plaintiffs filed this lawsuit on behalf of themselves and other detained individuals

 3   seeking protection from persecution and torture, challenging the United States’ government’s

 4   punitive policies and practices seeking to unlawfully deter and obstruct them from applying for

 5   protection.

 6          2.      This lawsuit initially included challenges to the legality of the government’s zero-

 7   tolerance practice of forcibly ripping children away from parents seeking asylum, withholding

 8   and protection under the Convention Against Torture (“CAT”). Plaintiffs did not pursue those

 9   claims after a federal court in the Southern District of California issued a nationwide preliminary

10   injunction Order against forcibly separating families. Ms. L v. ICE, 310 F. Supp. 3d 1133 (S.D.

11   Cal. 2018); see also Dkt. 26.

12          3.      In their Second Amended Complaint, Plaintiffs reaffirmed that they sought relief

13   on behalf of themselves and members of two proposed classes: (1) the Credible Fear Interview

14   Class, challenging delayed credible fear determinations, and (2) the Bond Hearing Class,

15   challenging delayed bond hearings that do not comport with constitutional requirements. Id.

16          4.      On March 6, 2019, this Court granted Plaintiffs’ Motion for Class Certification

17   and certified both the Credible Fear Interview Class and Bond Hearing Class. Dkt. 102 at 2. On

18   April 5, 2019, this Court granted Plaintiffs’ Motion for Preliminary Injunction, ordering that
19   Defendant Executive Office for Immigration Review conduct bond hearings within seven days of

20   request by a Bond Hearing Class members, place the burden of proof at those hearings on

21   Defendant Department of Homeland Security, record the hearings, produce a recording or

22   verbatim transcript upon appeal, and produce a written decision with particularized

23   determinations of individualized findings at the conclusion of each bond hearing. Dkt. 110 at 19.

24          5.      Thereafter, on April 16, 2019, Defendant Attorney General Barr issued Matter of

25   M-S-, 27 I&N Dec. 509 (A.G. 2018). In this decision, Defendant Barr reversed and vacated

26   Matter of X-K-, 23 I&N Dec. 731 (BIA 2005), holding that the Immigration and Nationality Act


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 1   (INA) does not permit bond hearings for individuals who enter the United States without

 2   inspection, establish a credible fear for persecution or torture, and are then referred for removal

 3   proceedings before an immigration judge.

 4          6.      Defendants have therefore now adopted a policy that not only denies Plaintiffs

 5   and class members the procedural protections they seek, but prevents them from obtaining bond

 6   hearings at all. Plaintiffs file this Third Amended Complaint to more squarely address this new

 7   and even more extreme policy.

 8          7.      Defendants exacerbate the harm those fleeing persecution have already suffered

 9   by needlessly depriving them of their liberty without adequate review. Plaintiffs seek this Court’s

10   intervention to ensure both that Defendants do not interfere with their right to apply for

11   protection by delaying Plaintiffs’ credible fear interviews and by subjecting them to lengthy

12   detention without prompt bond hearings that comport with the Due Process Clause.

13                                        II.      JURISDICTION
14          8.      This case arises under the Fifth Amendment of the United States Constitution and

15   the Administrative Procedure Act (“APA”). This Court has jurisdiction under 28 U.S.C. § 1331

16   (federal question jurisdiction); 28 U.S.C. § 2241 (habeas jurisdiction); and Article I, § 9, clause 2

17   of the United States Constitution (“Suspension Clause”). Defendants have waived sovereign

18   immunity pursuant to 5 U.S.C. § 702.
19          9.      Plaintiffs Yolany Padilla, Ibis Guzman, and Blanca Orantes were in custody for

20   purposes of habeas jurisdiction when this action was filed on June 25, 2018. Moreover, Plaintiffs

21   remain in custody as they are in ongoing removal proceedings and subject to re-detention.

22          10.     Plaintiffs Guzman, Orantes, and Vasquez were in custody for purposes of habeas

23   jurisdiction when the First Amended Complaint was electronically submitted on July 15, 2018.

24                                              III.   VENUE
25          11.     Venue lies in this District under 28 U.S.C. § 1391 because a substantial portion of

26   the relevant facts occurred within this District. Those facts include Defendants’ detention of


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 1   Plaintiffs Padilla, Guzman, and Orantes in this District; Defendants’ failure in this District to

 2   promptly conduct credible fear interviews and determinations for Plaintiffs and class members’

 3   claims for protection in the United States; and Defendants’ failure in this District to promptly

 4   conduct bond hearings that comport with due process and the Administrative Procedure Act.

 5                                            IV.     PARTIES
 6            12.   Plaintiff Yolany Padilla is citizen of Honduras seeking asylum, withholding, and

 7   protection under CAT for herself and her 6-year-old son (J.A.) in the United States.

 8            13.   Plaintiff Ibis Guzman is a citizen of Honduras seeking asylum, withholding, and

 9   protection under CAT for herself and her 5-year-old son (R.G.) in the United States.

10            14.   Plaintiff Blanca Orantes is a citizen of El Salvador seeking asylum, withholding,

11   and protection under CAT for herself and her 8-year-old son (A.M.) in the United States.

12            15.   Plaintiff Baltazar Vasquez is citizen of El Salvador seeking asylum, withholding,

13   and protection under CAT in the United States.

14            16.   Defendant U.S. Department of Homeland Security (“DHS”) is the federal

15   government agency responsible for enforcing U.S. immigration law. Its component agencies

16   include U.S. Immigration and Customs Enforcement (“ICE”); U.S. Customs and Border

17   Protection (“CBP”); and U.S. Citizenship and Immigration Services (“USCIS”).

18            17.   Defendant ICE carries out removal orders and oversees immigration detention.
19   ICE’s responsibilities include determining whether individuals seeking protection will be

20   released and referring cases for a credible fear interview and subsequent proceedings before the

21   immigration court. ICE’s local field office in Tukwila, Washington, is responsible for

22   determining whether individuals detained in Washington will be released, and when their cases

23   will be submitted for credible fear interviews and subsequent proceedings before the immigration

24   court.

25            18.   Defendant CBP conducts the initial processing and detention of individuals

26   seeking protection at or near the U.S. border. CBP’s responsibilities include determining whether


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 1   individuals seeking protection will be released and when their cases will be submitted for a

 2   credible fear interview.

 3          19.     Defendant USCIS, through its asylum officers, interviews and screens individuals

 4   seeking protection to determine whether to refer their protection claim to the immigration court

 5   to adjudicate any application for asylum, withholding of removal, or protection under CAT.

 6          20.     Defendant Executive Office for Immigration Review (“EOIR”) is a federal

 7   government agency within the Department of Justice that includes the immigration courts and

 8   the Board of Immigration Appeals (“BIA”). It is responsible for conducting removal

 9   proceedings, including adjudicating applications for asylum, withholding, and protection under

10   CAT, and for conducting individual bond hearings for persons in immigration custody.

11          21.     Defendant Matthew Albence is sued in his official capacity as the Acting Deputy

12   Director of ICE , and is a legal custodian of class members.

13          22.     Defendant Elizabeth Godfrey is sued in her official capacity as the ICE Seattle

14   Field Office Director, and is, or was, a legal custodian of the named plaintiffs.

15          23.     Defendant Kevin K. McAleenan is sued in his official capacity as the Acting

16   Secretary of DHS. In this capacity, he directs DHS, ICE, CBP, and USCIS. As a result,

17   Defendant McAleenan is responsible for the administration of immigration laws pursuant to

18   8 U.S.C. § 1103 and is, or was, a legal custodian of the named plaintiffs.
19          24.     Defendant John Sanders is sued in his official capacity as the Acting

20   Commissioner of CBP.

21          25.     Defendant L. Francis Cissna is sued in his official capacity as the Director of

22   USCIS.

23          26.     Defendant William Barr is sued in his official capacity as the United States

24   Attorney General. In this capacity, he directs agencies within the United States Department of

25   Justice, including EOIR. Defendant Barr is responsible for the administration of immigration

26   laws pursuant to 8 U.S.C. § 1103 and oversees Defendant EOIR.


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 1          27.     Defendant Steven Langford is sued in his official capacity as the warden of the

 2   Northwest Detention Center in Tacoma, Washington.

 3          28.     Defendant Charles Ingram is sued in his official capacity as the warden of the

 4   Federal Detention Center in SeaTac, Washington.

 5          29.     Defendant David Shinn is sued in his official capacity as the warden of the

 6   Federal Correctional Institute in Victorville, California.

 7          30.     Defendant James Janecka is sued in his official capacity as the warden of the

 8   Adelanto Detention Facility in Adelanto, California.

 9                                             V.      FACTS
10                                           Legal Background
11          31.     In 1996, Congress created an expedited removal system and “credible fear”

12   process. 8 U.S.C. § 1225 et seq. As enacted by Congress, the expedited removal system involves

13   a streamlined removal process for individuals apprehended at or near the border. See 8 U.S.C. §

14   1225(b)(1)(A)(i) (permitting certain persons who are seeking admission at the border of the

15   United States to be expeditiously removed without a full hearing); 8 U.S.C. § 1225(b)(1)(A)(iii)

16   (authorizing the Attorney General to apply expedited removal to certain inadmissible noncitizens

17   located within the United States); 69 Fed. Reg. 48,877 (Aug. 11, 2004) (providing that the

18   Attorney General will apply expedited removal to persons within the United States who are
19   apprehended within 100 miles of the border and who are unable to demonstrate that they have

20   been continuously physically present in the United States for the preceding 14-day period).

21          32.     Critically, however, Congress included safeguards in the statute to ensure that

22   those seeking protection from persecution or torture are not returned to their countries of origin.

23   Recognizing the high stakes involved in short-circuiting the formal removal process and the

24   constitutional constraints under which it operates, Congress created specific procedures with

25   detailed requirements for handling claims for protection.

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 1          33.     The expedited removal process begins with an inspection by an immigration

 2   officer, who determines the individual’s admissibility to the United States. If the individual

 3   indicates either an intention to apply for asylum or any fear of return to their country of origin,

 4   the officer must refer the individual for an interview with an asylum officer. 8 U.S.C. §

 5   1225(b)(1)(A)(ii), (B); 8 C.F.R. § 235.3(b)(4).

 6          34.     If an asylum officer determines that an applicant satisfies the credible fear

 7   standard—meaning there is a “significant possibility” she is eligible for asylum, 8 U.S.C. §

 8   1225(b)(1)(B)(v)—the applicant is taken out of the expedited removal system altogether and

 9   placed into standard removal proceedings under 8 U.S.C. § 1229a.

10          35.     During § 1229a removal proceedings, the applicant has the opportunity to develop

11   a full record before an immigration judge (“IJ”), apply for asylum, withholding of removal,

12   protection under CAT, and any other relief that may be available, and appeal an adverse decision

13   to the BIA and court of appeals. 8 C.F.R. §§ 208.30(f), 1003.43(f) and 1208.30; see also 8

14   U.S.C. § 1225(b)(1)(B)(ii).

15          36.     Until the asylum officer makes the credible fear determination, an applicant in

16   expedited removal proceedings is subject to mandatory detention. 8 U.S.C. §

17   1225(b)(1)(B)(iii)(IV); 8 C.F.R. § 235.3(b)(4)(ii).

18          37.     Defendants have a policy or practice of delaying the provision of credible fear
19   interviews to asylum seekers who express a fear of return, and thus unnecessarily prolonging

20   their mandatory detention.

21          38.     Until recently, BIA case law recognized that noncitizens who were apprehended

22   after entering without inspection and placed in removal proceedings after passing their credible

23   fear interviews are entitled to bond hearings. Matter of X-K-, 23 I&N Dec. 731 (BIA 2005),

24   reversed and vacated by Matter of M-S-, 27 I&N Dec. 509 (A.G. 2019) (issued April 16, 2019,

25   but effective date stayed until July 15, 2019), (interpreting bond regulations at 8 C.F.R. §§

26   1003.19(h)(2) and 1236.1).


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 1          39.     Defendants’ policy and practice, however, has been both to deny timely bond

 2   hearings and to require the noncitizens, rather than the government, to bear the burden of proving

 3   at these bond hearings that continued detention is not warranted. These bond hearings have also

 4   lacked procedural safeguards such as a verbatim transcript or audio recording, and a

 5   contemporaneous written decision explaining the IJ’s findings.

 6          40.     Traditionally, those asylum seekers in § 1229a removal proceedings who are not

 7   deemed “arriving”—that is, those who were apprehended near the border after entering without

 8   inspection, as opposed to asylum seekers who are detained at a port of entry—become entitled to

 9   an individualized bond hearing before an IJ to assess their eligibility for release from

10   incarceration once they have been found to have a credible fear. See 8 U.S.C. §§

11   1225(b)(1)(A)(iii), 1225(b)(1)(B)(iii)(IV); 8 C.F.R. §§ 208.30(f), 1236.1(d).

12          41.     In 2005, Defendant EOIR reaffirmed the availability of bond hearings for this

13   group of asylum seekers. Matter of X-K-, 23 I&N Dec. 731 (BIA 2005), reversed and vacated by

14   Matter of M-S-, 27 I&N Dec. 509 (A.G. 2019). See also 8 C.F.R. § 1003.19(h)(2).

15          42.     At the bond hearing, an IJ determines whether to release the individual on bond or

16   conditional parole pending resolution of her immigration case. See 8 U.S.C. § 1226(a); 8 C.F.R.

17   §§ 1236.1(d)(1), 1003.19. In doing so, the IJ evaluates whether they pose a danger to the

18   community and the likelihood that they will appear at future proceedings. See Matter of Adeniji,
19   22 I&N Dec. 1102, 1112 (BIA 1999).

20          43.     The detained individual has the right to appeal an IJ’s denial of bond to the BIA, 8

21   C.F.R. § 1003.19(f), or to seek another bond hearing before an immigration judge if they can

22   establish a material change in circumstances since the prior bond decision, 8 C.F.R. §

23   1003.19(e).

24          44.     Defendant EOIR places the burden of proving eligibility for release on the

25   detained noncitizen seeking bond, not the government. Matter of Guerra, 24 I&N Dec. 37, 40

26   (BIA 2006).


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 1             45.     Immigration courts do not require recordings of bond proceedings and do not

 2   provide transcriptions of the hearing, or even the oral decisions issued in the hearings.

 3   Immigration courts also do not issue written decisions unless the individual has filed an

 4   administrative appeal of the bond decision. See, e.g., Imm. Court Practice Manual § 9.3(e)(iii),

 5   (e)(vii); BIA Practice Manual §§ 4.2(f)(ii), 7.3(b)(ii).

 6             46.     When an IJ denies release on bond or other conditions, she does not make

 7   specific, particularized findings, and instead simply checks a box on a template order.

 8             47.     On April 5, 2019, this Court granted Plaintiffs’ Motion for Preliminary Injunction

 9   and ordered that Defendant EOIR implement key procedural safeguards. In particular, the Court

10   required EOIR to conduct bond hearings within seven days of request by Bond Hearing Class

11   members, place the burden of proof at those hearings on Defendant DHS, record the hearings,

12   produce a recording or verbatim transcript upon appeal, and produce a written decision with

13   particularized determinations of individualized findings at the conclusion of each bond hearing.

14   Dkt. 110 at 19.

15                           The Attorney General’s Decision in Matter of M-S-
16             48.     On October 12, 2018—approximately two months after Plaintiffs filed their

17   amended complaint raising the bond hearing class claims, and around six months before this

18   Court issued its preliminary injunction—former Attorney General Sessions referred to himself a
19   pro se case seeking to review whether “Matter of X-K-, 23 I&N Dec. 731 (BIA 2005) . . . should

20   be overruled in light of Jennings v. Rodriguez, 138 S. Ct. 830 (2018).” Matter of M-G-G-, 27

21   I&N Dec. 469, 469 (A.G. 2018); see also Matter of M-S-, 27 I&N Dec. 476 (A.G. 2018).

22             49.   On November 7, 2018, former Defendant Sessions resigned as Attorney General.

23             50.   Subsequently, on February 14, 2019, Attorney General Barr was confirmed by the

24   Senate.

25             51.     On April 16, 2019, Defendant Barr issued Matter of M-S-, 27 I. & N Dec. 509

26   (A.G. 2018). In this decision, Defendant Barr reversed and vacated Matter of X-K-, 23 I&N Dec.


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 1   731 (BIA 2005), holding the Immigration and Nationality Act (INA) does not permit bond

 2   hearings for individuals who enter the United States without inspection, establish a credible fear

 3   for persecution or torture, and are then referred for full removal hearings before the immigration

 4   court.

 5            52.   Although existing regulations provide for bond hearings except in limited

 6   circumstances not applicable here, Defendant Barr did not formally rescind or modify the

 7   regulations or engage in the required rulemaking process.

 8            53.   Defendant Barr stayed the effective date of his decision for 90 days so that DHS

 9   may conduct the “necessary operational planning for additional detention and parole decisions”

10   that will result from the elimination of IJ bond hearings. Matter of M-S-, 27 I&N Dec. at 519 n.8.

11            54.   Under Matter of M-S- , asylum seekers will be restricted to requesting release

12   from ICE—the jailing authority—through the parole process. 27 I&N Dec. at 516-17 (citing 8

13   U.S.C. § 1182(d)(5)). In contrast to a bond hearing before an immigration judge, the parole

14   process consists merely of a custody review conducted by low-level ICE detention officers. See 8

15   C.F.R. § 212.5. It includes no hearing before a neutral decision maker, no record of any kind, and

16   no possibility for appeal. See id. Instead, ICE officers make parole decisions—that can result in

17   months or years of additional incarceration—by merely checking a box on a form that contains

18   no factual findings, no specific explanation, and no evidence of deliberation.
19            55.   In Matter of M-S-, Defendant Barr also ordered that the noncitizen in that case,

20   who had previously been released on bond, “must be detained until his removal proceedings

21   conclude” unless DHS chooses to grant him parole. Matter of M-S-, 27 I&N Dec. at 519.

22            56.   Pursuant to Matter of M-S-, Defendants will initiate a policy and practice of

23   denying bond hearings to noncitizens seeking protection who are apprehended after entering

24   without inspection, even after being found to have a credible fear of persecution or torture and

25   even after their cases are transferred for full hearings before the immigration court.

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 1                                         Plaintiff Yolany Padilla
 2          57.     Yolany Padilla is a citizen of Honduras seeking asylum in the United States for

 3   herself and her 6-year-old son J.A.

 4          58.     On or about May 18, 2018, Ms. Padilla and J.A. entered the United States. As

 5   they were making their way to a nearby port of entry, they were arrested by a Border Patrol agent

 6   for entering without inspection.

 7          59.     When they arrived at the port of entry, an officer there announced to her and the

 8   rest of the group that the adults and children were going to be separated. The children old enough

 9   to understand the officer began to cry. J.A. clutched his mother’s shirt and said, “No, mommy, I

10   don’t want to go.” Ms. Padilla reassured her son that any separation would be short, and that

11   everything would be okay. She was able to stay with her son until they were transferred later that

12   day to a holding facility known as a hielera, or freezer, because of the freezing temperatures of

13   the rooms. Ms. Padilla and J.A. were then forcibly separated without explanation.

14          60.     While detained in the hielera, Ms. Padilla informed the immigration officers that

15   she and her son were afraid to return to Honduras.

16          61.     About three days later, Ms. Padilla was transferred to another facility in Laredo,

17   Texas. The officers in that facility took her son’s birth certificate from her. When she asked for it

18   back, she was told that the immigration authorities had it.
19          62.     About twelve days later, Ms. Padilla was transferred to the Federal Detention

20   Center in SeaTac, Washington.

21          63.     For many weeks after J.A. was forcibly taken from her, Ms. Padilla received no

22   information regarding his whereabouts despite repeated inquiries. Around a month into her

23   detention, the Honduran consul visited Ms. Padilla at the detention center, and she explained that

24   she had no news of her 6-year-old son. Soon thereafter, she was given a piece of paper stating

25   that J.A. was in a place called Cayuga Center in New York, thousands of miles away.

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 1          64.     On July 2, 2018, more than six weeks after being apprehended and detained, Ms.

 2   Padilla was given a credible fear interview. The asylum officer issued a positive credible fear

 3   determination, and she was placed in removal proceedings.

 4          65.     On July 6, 2018, Ms. Padilla attended her bond hearing before the immigration

 5   judge. During the bond hearing, the immigration judge placed the burden of proof on Ms. Padilla

 6   to demonstrate that she is neither a danger nor flight risk. To her knowledge, there is no verbatim

 7   transcript or recording of her bond hearing. The immigration judge set a bond amount of $8,000.

 8          66.     Ms. Padilla was released on July 6, 2018, after posting bond.

 9          67.     Pursuant to Matter of M-S-, Ms. Padilla now faces the prospect of being re-

10   detained without a bond hearing.

11                                          Plaintiff Ibis Guzman

12          68.     Ibis Guzman is a citizen of Honduras seeking asylum in the United States for
13   herself and her 5-year-old son R.G.
14          69.     On or about May 16, 2018, Ms. Guzman and R.G. entered the United States.
15   When they were apprehended by Border Patrol agents for entering without inspection, Ms.
16   Guzman informed them that she and R.G. are seeking asylum.
17          70.     After initial questioning, an officer came and forcibly took R.G. from Ms.
18   Guzman, falsely informing her she would be able to see him again in three days. After those
19   three days, Ms. Guzman was transferred to another CBP facility, where officers told her they did
20   not know anything about her son’s whereabouts.
21          71.     Ms. Guzman was then transferred to a facility in Laredo, Texas, where she was
22   detained without any knowledge of the whereabouts of her child and without any means to
23   contact him. She did not receive any information about him during this time, despite her repeated
24   attempts to obtain such information.
25          72.     About two weeks later, Ms. Guzman was transferred to the Federal Detention
26   Center in SeaTac, Washington. After being held there for about another week, she was finally


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 1   informed her child had been placed with Baptist Child and Family Services in San Antonio,

 2   Texas, thousands of miles from where she was being held.

 3          73.     On June 20, 2018, Ms. Guzman was transferred to the Northwest Detention

 4   Center in Tacoma, Washington.

 5          74.     On June 27, 2018, over a month after being apprehended and detained, Ms.

 6   Guzman attended a credible fear interview. The asylum officer determined that she has a credible

 7   fear, and she was placed in removal proceedings.

 8          75.     On July 3, 2018, Ms. Guzman attended a bond hearing before immigration judge.

 9   At the bond hearing, the immigration judge placed the burden of proof on Ms. Guzman to

10   demonstrate that she qualified for a bond. At the conclusion of that bond hearing, an immigration

11   judge issued an order denying her release on bond pending the adjudication of her asylum claim

12   on the merits. The immigration judge did not make specific, particularized findings for the basis

13   of the denial. The immigration judge circled the preprinted words “Flight Risk” on a form order.

14   To her knowledge, there is no verbatim transcript or recording of her bond hearing.

15          76.     Ms. Guzman was not released until on or about July 31, 2018, after the

16   government was ordered to comply with the preliminary injunction in Ms. L v. ICE.

17                                        Plaintiff Blanca Orantes

18          77.     Blanca Orantes is a citizen of El Salvador seeking asylum in the United States for
19   herself and her 8-year-old son A.M.
20          78.     On or about May 21, 2018, Ms. Orantes and A.M. entered the United States. They
21   immediately walked to a CBP station to request asylum, and were subsequently arrested for
22   entering without inspection. Ms. Orantes informed a Border Patrol agent that she and A.M. are
23   seeking asylum.
24          79.     Ms. Orantes and her son were transported to a CBP facility. Before entering the
25   building, the officers led Ms. Orantes into a hielera with other adults, and her son into another
26   part of the station with other children.


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 1           80.      Ms. Orantes was later interviewed by an immigration officer. At that time,

 2   another officer brought A.M. to her and told her to “say goodbye” to him because they were

 3   being separated. A.M. began crying and pleading Ms. Orantes not to leave, but was forcibly

 4   taken away from Ms. Orantes.

 5           81.      On or around May 24, 2018, Ms. Orantes was taken to court, where she pled

 6   guilty to improper entry under 8 U.S.C. § 1325 and was sentenced to time served. She was then

 7   returned to her cell.

 8           82.      About nine days after this, Ms. Orantes was transported to the Federal Detention

 9   Center in SeaTac, Washington.

10           83.      Ms. Orantes was not provided any information about her child until June 9, 2018,

11   when an ICE officer handed her a slip of paper advising that her son was being held at Children’s

12   Home of Kingston, in Kingston, New York.

13           84.      On June 20, 2018, Ms. Orantes was transferred to the Northwest Detention Center

14   in Tacoma, Washington, still thousands of miles away from her son.

15           85.      On June 27, 2018, around five weeks after being apprehended, Ms. Orantes was

16   given a credible fear interview. The following day, June 28, 2018, the asylum officer determined

17   that Ms. Orantes established a credible fear, and she was placed in removal proceedings.

18           86.      Ms. Orantes requested a bond hearing upon being provided the positive credible
19   fear determination.

20           87.      On July 16, 2018, Ms. Orantes was given a bond hearing before the immigration

21   court. At the bond hearing, the immigration judge placed the burden of proof on Ms. Orantes to

22   demonstrate that she qualified for a bond. At the conclusion of that bond hearing, an immigration

23   judge issued an order denying her release on bond pending the adjudication of her asylum claim

24   on the merits.

25           88.      In denying Ms. Orantes’s request for a bond, the immigration judge did not make

26   specific, particularized findings for the basis of the denial, and even failed to check the box


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 1   indicating why she was denied bond on the template order.

 2          89.       She was released from custody on or about July 23, 2018, after the federal

 3   government was forced to comply with the preliminary injunction in Ms. L. v. ICE, and

 4   thereafter reunited her with her child.

 5                                       Plaintiff Baltazar Vasquez
 6          90.       Plaintiff Baltazar Vasquez is a citizen of El Salvador seeking asylum in the

 7   United States.

 8          91.       On or about June 1, 2018, Mr. Vasquez entered the United States. He was arrested

 9   by a Border Patrol agent for entering without inspection, and informed the agent that he was

10   afraid to return to El Salvador and wanted to seek asylum.

11          92.       Mr. Vasquez was first transported by officers to a federal holding center near San

12   Diego, California. Around nine days later, he was transferred to a Federal Detention Center in

13   Victorville, California.

14          93.       On or about July 20, 2018, Mr. Vasquez was transferred to another detention

15   center in Adelanto, California.

16          94.       On or about July 31, 2018, nearly two months after he was first apprehended, Mr.

17   Vasquez was given a credible fear interview. The asylum officer determined he had a credible

18   fear, and he was placed in removal proceedings.
19          95.       Mr. Vasquez requested a bond hearing upon being provided the positive credible

20   fear determination.

21          96.       On August 20, 2018, Mr. Vasquez was given a bond hearing before the

22   immigration court. At the bond hearing, Mr. Vasquez had the burden to prove that he is neither a

23   danger or flight risk, but ultimately, DHS agreed to stipulate to a bond amount of 8,000 dollars.

24   The immigration judge approved this agreement but also required Mr. Vasquez to wear an ankle

25   monitor.

26


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 1          97.     Pursuant to Matter of M-S-, Mr. Vasquez now faces the prospect of being re-

 2   detained without a bond hearing.

 3                                    VI.     CLASS ALLEGATIONS
 4          98.     Plaintiffs brought this action on behalf of themselves and all others who are

 5   similarly situated pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(2). A class action

 6   is proper because this action involves questions of law and fact common to the classes, the

 7   classes are so numerous that joinder of all members is impractical, Plaintiffs’ claims are typical

 8   of the claims of the classes, Plaintiffs will fairly and adequately protect the interests of the

 9   respective classes, and Defendants have acted on grounds that apply generally to the class, so

10   that final injunctive relief or corresponding declaratory relief is appropriate with respect to the

11   class as a whole.

12          99.     Plaintiffs sought to represent the following nationwide classes:

13                  a. Credible Fear Interview Class (“CFI Class”): All detained asylum seekers
14                       in the United States subject to expedited removal proceedings under 8 U.S.C.

15                       §1225(b) who are not provided a credible fear determination within 10 days of

16                       requesting asylum or expressing a fear of persecution to a DHS official,

17                       absent a request by the asylum seeker for a delayed credible fear interview.

18                  b. Bond Hearing Class (“BH Class”): All detained asylum seekers who entered
19                       the United States without inspection, who were initially subject to expedited

20                       removal proceedings under 8 U.S.C. §1225(b), who were determined to have

21                       a credible fear of persecution, but who are not provided a bond hearing with a

22                       verbatim transcript or recording of the hearing within 7 days of requesting a

23                       bond hearing.

24          100.    On March 6, 2019, the district court certified the following nationwide classes:

25                  a. Credible Fear Interview Class: All detained asylum seekers in the United
26                       States subject to expedited removal proceedings under 8 U.S.C. § 1225(b)


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 1                      who are not provided a credible fear determination within ten days of the later

 2                      of (1) requesting asylum or expressing a fear of persecution to a DHS official

 3                      or (2) the conclusion of any criminal proceeding related to the circumstances

 4                      of their entry, absent a request by the asylum seeker for a delayed credible

 5                      fear interview.

 6                  b. Bond Hearing Class: All detained asylum seekers who entered the United
 7                      States without inspection, were initially subject to expedited removal

 8                      proceedings under 8 U.S.C. § 1225(b), were determined to have a credible

 9                      fear of persecution, but are not provided a bond hearing with a verbatim

10                      transcript or recording of the hearing within seven days of requesting a bond

11                      hearing.

12          101.    The certified classes currently are represented by counsel from the Northwest

13   Immigrant Rights Project and the American Immigration Council. Counsel have extensive

14   experience litigating class action lawsuits and other complex cases in federal court, including

15   civil rights lawsuits on behalf of noncitizens.

16                             Credible Fear Interview Class (“CFI Class”)
17          102.    All named Plaintiffs represent the certified CFI Class.

18          103.    The CFI Class meets the numerosity requirement of Federal Rule of Civil
19   Procedure 23(a)(1). The class is so numerous that joinder of all members is impracticable.

20   Plaintiffs are not aware of the precise number of potential class members, but upon information

21   and belief, there are thousands of individuals seeking protection who are subject to expedited

22   removal proceedings and not provided a credible fear interview within ten days of expressing a

23   fear of return or desire to apply for asylum. Defendants are uniquely positioned to identify all

24   class members.

25          104.    The CFI Class meets the commonality requirement of Federal Rule of Civil

26   Procedure 23(a)(2). By definition, members of the CFI Class are subject to a common practice


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 1   by Defendants: their failure to provide timely credible fear interviews. This lawsuit raises a

 2   question of law common to members of the CFI Class, namely whether Defendants’ delay in

 3   providing credible fear interviews constitutes agency action unlawfully withheld or unreasonably

 4   delayed under the APA, the INA, and the Due Process Clause.

 5          105.    The CFI Class meets the typicality requirement of Federal Rule of Civil

 6   Procedure 23(a)(3), because the claims of the representative Plaintiffs are typical of the claims of

 7   the class. All named Plaintiffs were not provided credible fear interviews within 10 days of being

 8   apprehended and expressing a fear of return to their countries of origin.

 9          106.    The CFI Class meets the adequacy requirements of Federal Rule of Civil

10   Procedure 23(a)(4). The representative Plaintiffs seek the same relief as the other members of the

11   class—namely, an order that Defendants promptly provide credible fear interviews. In defending

12   their own rights, the named Plaintiffs will defend the rights of all class members fairly and

13   adequately.

14          107.    The members of the class are readily ascertainable through Defendants’ records.

15          108.    The CFI Class also satisfies Federal Rule of Civil Procedure 23(b)(2). Defendants

16   have acted on grounds generally applicable to the class by unreasonably delaying putative class

17   members’ credible fear interviews. Injunctive and declaratory relief is thus appropriate with

18   respect to the class as a whole.
19                                      Bond Hearing Class (“BH Class”)
20          109.    Plaintiffs Orantes and Vasquez represent the certified Bond Hearing Class.

21          110.    The BH Class meets the numerosity requirement of Federal Rule of Civil

22   Procedure 23(a)(1). The class is so numerous that joinder of all members is impracticable.

23   Plaintiffs are not aware of the precise number of potential class members, but upon information

24   and belief, there are thousands of individuals seeking protection who entered without inspection,

25   were referred to standard removal proceedings after a positive credible fear determination, and

26   were not provided bond hearings either within seven days of requesting the hearing, or whose


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 1   bond hearings were not recorded or transcribed. Defendants are uniquely positioned to identify

 2   all class members.

 3          111.    The BH Class meets the commonality requirement of Federal Rule of Civil

 4   Procedure 23(a)(2). Members of the BH Class are subject to common policies and practices by

 5   Defendants: their failure to provide timely bond hearings; their placement of the burden of proof

 6   on the detained on the detained individual during bond hearings; their failure to provide a

 7   verbatim transcript or recording of the bond hearing; their failure to provide a contemporaneous

 8   written decision with particularized findings; and finally, due to Matter of M-S-, all class

 9   members will be denied bond hearings.

10          112.    This lawsuit raises questions of law common to members of the BH Class:

11   whether Defendants’ failure to provide bond hearings violates class members’ right to due

12   process, right to a parole hearing under 8 U.S.C. § 1182(d)(5), and the rulemaking requirements

13   of the Administrative Procedure Act; whether Defendants’ failure to provide timely bond

14   hearings constitutes agency action unlawfully withheld or unreasonably delayed under the APA,

15   that is contrary to law under the APA; whether due process requires Defendants to provide bond

16   hearings to putative class members within seven days of a request, and whether due process and

17   the APA requires Defendants to place the burden of proof on the government to justify continue

18   detention, and to provide adequate procedural safeguards during the bond hearings provided to
19   putative class members.

20          113.    The BH Class meets the typicality requirement of Federal Rule of Civil Procedure

21   23(a)(3), because the claims of the representative Plaintiffs are typical of the claims of the class.

22   Plaintiffs Orantes and Vasquez were not provided bond hearings within seven days of requesting

23   a hearing. At the bond hearing, all class representatives were assigned the burden to prove that

24   they are eligible for release under bond. All class representatives were denied a contemporaneous

25   written decision with particularized findings. Defendants are not required to record or provide

26   verbatim transcripts of the hearings and did not advise Plaintiffs Orantes and Vasquez that


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 1   recordings had been made until filing their First Amended Complaint, Dkt. 8. Finally, in Matter

 2   of M-S-, Defendant Barr has announced that, as of July 15, 2019, future Bond Hearing Class

 3   members will be deprived of any bond hearing.

 4          114.     The BH Class meets the adequacy requirements of Federal Rule of Civil

 5   Procedure 23(a)(4). The representative Plaintiffs seek the same relief as the other members of the

 6   class: an order requiring Defendants to provide bond hearings within seven days of request, to

 7   place the burden of proof on the government during these bond hearings, to provide a verbatim

 8   transcript or recording of the hearing, and to provide a contemporaneous written decision with

 9   particularized findings at the end of the hearing. In defending their own rights, the named

10   Plaintiffs will defend the rights of all class members fairly and adequately.

11          115.     The members of the class are readily ascertainable through Defendants’ records.

12          116.     The BH Class also satisfies Federal Rule of Civil Procedure 23(b)(2). Defendants

13   have acted on grounds generally applicable to the class by unreasonably delaying putative class

14   members’ bond hearings. Putative class members received an untimely bond hearing in which

15   they had to bear the burden of proof. Defendants generally do not record or provide verbatim

16   transcripts of putative class members’ bond hearings, nor issue contemporaneous written

17   decisions with particularized findings. Moreover, after July 15, 2019, class members will not

18   receive any bond hearings. Injunctive and declaratory relief is thus appropriate with respect to
19   the class as a whole.

20                                     VII.    CAUSES OF ACTION
21                                          COUNT I
     (Violation of Fifth Amendment Right to Due Process—Right to Timely Bond Hearing with
22                                  Procedural Safeguards)
23          117.     All of the foregoing allegations are repeated and realleged as though fully set
24   forth herein.
25          118. The Due Process Clause of the Fifth Amendment provides that “no person . . . shall
26   be deprived of . . . liberty . . . without due process of law.” U.S. Const., amend. V.


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 1          119. Named Plaintiffs and all BH Class members were apprehended on U.S. soil after

 2   entry and are thus “persons” to whom the Due Process Clause applies.

 3          120. The Due Process Clause permits civil immigration detention only where such

 4   detention is reasonably related to the government’s interests in preventing flight or protecting the

 5   community from danger and is accompanied by adequate procedures to ensure that detention

 6   serves those goals.

 7          121. Both substantive and procedural due process therefore require an individualized

 8   assessment of BH Class members’ flight risk or danger to the community in a custody hearing

 9   before a neutral decision maker.

10          122. The Due Process Clause guarantees that such individualized custody hearings be

11   provided in a timely manner to afford Plaintiffs and BH Class members an opportunity to

12   challenge whether their continued detention is necessary to ensure their future appearance or to

13   avoid danger to the community. Federal courts have consistently held that due process requires

14   an expeditious opportunity to receive that individualized assessment. Defendants’ interests in

15   prolonging this civil detention do not outweigh the liberty interests of Plaintiffs and BH Class

16   members.

17          123. The Due Process Clause requires that Plaintiffs and BH Class members receive

18   adequate procedural protections to assert their liberty interest. The Due Process Clause requires
19   the government to bear the burden of proof in the custodial hearing of demonstrating that the

20   continued detention of Plaintiffs and BH Class members is justified. Defendants’ interests do not

21   outweigh the liberty interests for Plaintiffs and BH Class members.

22          124. The Due Process Clause requires that the government provide either a transcript or

23   recording of the hearing and specific, particularized findings of the bond hearing to provide a

24   meaningful opportunity for Plaintiffs and BH Class members to evaluate and appeal the IJ’s

25   custody determination. Defendants’ interests in issuing decisions without these procedural

26   protections do not outweigh the liberty interests for Plaintiffs and BH Class members.


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 1             125. Pursuant to Matter of M-S-, Defendants deprive Plaintiffs and BH Class members

 2   the right to any custodial hearing before a neutral arbiter to make an individualized determination

 3   of whether they present a danger to the community or a flight risk.

 4             126. Pursuant to Matter of M-S-, Plaintiffs and BH Class members who have been

 5   released face the prospect of being re-detained without a bond hearing.

 6             127. Prior to Matter of M-S-, Defendants recognized that BH Class members are entitled

 7   to a bond hearing. Defendants have regularly delayed these hearings for several weeks after the

 8   credible fear determinations.

 9             128. Defendants have also failed to provide the other bond hearing procedures required

10   by due process, placing the burden of proof on Plaintiffs and BH Class members and refusing to

11   provide them with a recording or verbatim transcript of the hearing as well as a written decision

12   with particularized findings of the bond hearing.

13             129. As a result, by failing to provide prompt bond hearings with adequate procedural

14   safeguards, Defendants violate the Fifth Amendment’s Due Process Clause.

15                                               COUNT II
                     (Violation of Immigration & Nationality Act—Failure to Provide
16                                  an Individualized Custodial Hearing)
17             130. All of the foregoing allegations are repeated and realleged as though fully set forth
18   herein.
19             131. 8 U.S.C. § 1225(b)(1)(A) distinguishes BH class members, who are detained after
20   entering the country, from those who are charged as arriving and seeking admission at a port of
21   entry. 8 U.S.C. § 1225(b)(1)(A)(iii)(I) provides that the Attorney General “may” place BH Class
22   members in expedited removal proceedings, but unlike those who are charged as arriving, does
23   not require that they be subject to mandatory detention.
24             132. Under 8 U.S.C. § 1225(b)(1)(B)(iii)(IV), asylum seekers are subject to mandatory
25   detention only while “pending a final determination of credible fear of persecution and, if found
26   not to have such a fear, until removed.”


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 1          133. Plaintiffs and all BH Class members entered without inspection and were placed in

 2   expedited removal proceedings under to 8 U.S.C. § 1225(b). All of them established a credible

 3   fear of persecution or torture and were thereafter transferred for full hearings before the

 4   immigration court.

 5          134. As such, under the Immigration and Nationality Act, Plaintiffs are entitled to seek a

 6   custody hearing where the Attorney General may grant bond or conditional parole. 8 U.S.C. §

 7   1226(a); 8 C.F.R. § 1236.1(d); 8 C.F.R. § 1003.19(h)(2).

 8          135. Defendant Barr’s decision in Matter of M-S- denies Plaintiffs and BH Class

 9   members their statutory right to an individualized custody hearing.

10                                         COUNT III
       (Violation of the Immigration and Nationality Act (“INA”), 8 U.S.C. § 1182(d)(5), and
11   Violation of Fifth Amendment Right to Due Process—Failure to Provide an Individualized
                                         Parole Hearing)
12
            136.     All of the foregoing allegations are repeated and realleged as though fully set
13
     forth herein.
14
            137.     The Immigration and Nationality Act (“INA”)provides that the Attorney General
15
     “may . . . in his discretion parole into the United States . . . on a case-by-case basis for urgent
16
     humanitarian reasons or significant public benefit any alien applying for admission to the United
17
     States . . . .” 8 U.S.C. § 1182(d)(5)(A). Under the INA and implementing regulations,
18
     immigration detention of an asylum seeker must be based on an individualized determination
19
     that the asylum seeker constitutes a flight risk or a danger to the community. See id.; see also 8
20
     C.F.R. § 212.5(b)(5).
21
            138.     Pursuant to implementing regulations, parole reviews are conducted solely by
22
     U.S. Immigration and Customs Enforcement (“ICE”)—the jailing authority. See id.
23
            139.     However, the INA requires an individualized parole hearing before an
24
     immigration judge to decide if the asylum seeker constitutes a flight risk or danger to the
25
     community.
26


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 1             140.   Defendants’ policy and practice of denying Plaintiffs and those similarly situated

 2   parole hearings before an immigration judge violates the INA.

 3             141.   To the extent the statute denies parole hearings before an immigration judge, the

 4   statute violates due process.

 5                                             COUNT IV
                      (Violation of Administrative Procedure Act—Failure to Follow
 6                                   Notice & Comment Rulemaking)
 7             142. All of the foregoing allegations are repeated and realleged as though fully set forth
 8   herein.
 9             143. Regulations that currently govern Defendants DHS and EOIR provide that Plaintiffs
10   and BH Class members may seek review of ICE’s custody decision before an IJ. See 8 C.F.R. §§
11   1003.19(h)(2), 1236.1(d).
12             144. Matter of M-S- is a final agency action that purports to alter those regulations by
13   adjudication, without engaging in notice and comment rulemaking.
14             145. The Administrative Procedure Act requires Defendants to engage in notice and
15   comment rulemaking before undertaking the changes that Matter of M-S- purports to make to BH
16   Class Members’ rights to a bond hearing. See 5 U.S.C. §§ 551(5), 553(b) & (c).
17             146. As a result, Matter of M-S- is unlawful agency action that this Court should set
18   aside because that decision was issued “without observance of procedure required by law.” 5
19   U.S.C. § 706(2)(D).
20                                         COUNT V
21   (Violation of Fifth Amendment Right to Due Process—Delays of Credible Fear Interviews)

22             147. All of the foregoing allegations are repeated and realleged as though fully set forth

23   herein.

24             148. The Due Process Clause guarantees timely and adequate procedures to test

25   Defendants’ rationale for detaining asylum seekers.

26


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 1             149. Defendants’ practice of delaying individuals seeking protection credible fear

 2   interviews beyond 10 days prevents Plaintiffs Padilla, Guzman, Orantes, and Vasquez, and the

 3   CFI Class from demonstrating that they have a “significant possibility” of obtaining protection

 4   and a lawful status in the United States. 8 U.S.C. § 1225(b)(1)(B)(v). That practice thus further

 5   lengthens their time in detention without the opportunity to appear before a neutral decision

 6   maker to receive an individualized custodial assessment.

 7             150. Defendants’ interests do not outweigh the significant risks that delayed credible fear

 8   interviews pose in wrongfully prolonging Plaintiffs Padilla, Guzman, Orantes, and Vasquez , and

 9   CFI Class members’ detention, nor do they outweigh their protected due process interests in

10   timely demonstrating their right to protection in the United States.

11             151. Defendants’ practice of delaying credible fear interviews therefore violates the CFI

12   Class’s right to due process.

13                                            COUNT VI
       (Administrative Procedure Act—Delays of Credible Fear Interviews and Bond Hearings
14                            and Denial of Procedural Protections)
15             152. All of the foregoing allegations are repeated and realleged as though fully set forth
16   herein.
17             153. The Administrative Procedure Act (“APA”) imposes on federal agencies the duty to
18   conclude matters presented to them within a “reasonable time.” 5 U.S.C. §555(b).
19             154. The APA also permits the CFI and BH Classes to “compel agency action
20   unlawfully withheld or unreasonably delayed,” 5 U.S.C. § 706(1), and prohibits final agency
21   action that is arbitrary and capricious, that violates the Constitution, or that is otherwise not in
22   accordance with law, id. § 706(2)(A)-(B).
23             155. Both credible fear interviews and bond hearings are “discrete agency actions” that
24   Defendants are “required to take,” and therefore constitute agency action that a court may
25   compel. Norton v. S. Utah Wilderness All., 542 U.S. 55, 64 (2004).
26


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 1          156. Defendants’ failure to expeditiously conduct a credible fear interview after

 2   detaining Plaintiffs and members of the CFI Class constitutes “an agency action unlawfully

 3   withheld or unreasonably delayed” under the APA. See 5 U.S.C. § 706(1).

 4          157. Defendants’ failure to promptly conduct a bond hearing for plaintiffs and members

 5   of the BH Class within 7 days of a request also constitutes “an agency action unlawfully

 6   withheld or unreasonably delayed” under the APA. See id.

 7          158. Defendants’ policies regarding (1) the burden of proof in bond proceedings, (2) the

 8   lack of recordings and transcripts, (3) the failure to provide specific, particularized findings

 9   constitute final agency action.

10          159. The lack of these procedural protections is contrary to law and violates the

11   constitutional right to due process of noncitizens seeking protection. See 5 U.S.C. § 706(2).

12                                     VIII. PRAYER FOR RELIEF
13          Plaintiffs respectfully request that this Court enter judgment against Defendants granting

14   the following relief on behalf of the Credible Fear Interview Class and the Bond Hearing Class:

15          A. Declare that Defendants have an obligation to provide Credible Fear Interview Class

16              members with a credible fear interview and determination within 10 days of

17              requesting asylum or expressing a fear of persecution or torture to any DHS official.

18          B. Preliminarily and permanently enjoin Defendants from not providing Credible Fear
19              Interview Class members their credible fear determination within 10 days of

20              requesting asylum or expressing a fear of persecution or torture to any DHS official.

21          C. Declare that Defendants have an obligation to provide Bond Hearing Class members

22              a bond hearing before an immigration judge.

23          D. Preliminarily and permanently enjoin Defendants from not providing Bond Hearing

24              Class members a bond hearing before an immigration judge.

25          E. Declare that Defendants have an obligation to provide Bond Hearing Class members

26              a bond hearing within 7 days of their requesting a hearing to set reasonable conditions


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 1            for their release pending adjudication of their claims for protection.

 2         F. Declare that Defendant DHS must bear the burden of proof to show continued

 3            detention is necessary in civil immigration proceedings.

 4         G. Declare that Defendants have an obligation to provide Bond Hearing Class members

 5            a bond hearing with adequate procedural safeguards, including providing a verbatim

 6            transcript or recording of their bond hearing upon appeal.

 7         H. Declare that in bond hearings immigration judges must make specific, particularized

 8            written findings as to the basis for denying release from detention, including findings

 9            identifying the basis for finding that the individual is a flight risk or a danger to the

10            community.

11         I. Preliminarily and permanently enjoin Defendants from not providing Bond Hearing

12            Class members their bond hearing within 7 days of the class members’ request.

13         J. Preliminarily and permanently enjoin Defendants from not providing Bond Hearing

14            Class members bond hearings where Defendant DHS bears the burden of proof to

15            show continued detention is necessary.

16         K. Preliminarily and permanently enjoin Defendants from not providing Bond Hearing

17            Class members their bond hearing with a verbatim transcript or recording of their

18            bond hearing.
19         L. Preliminarily and permanently enjoin Defendants from not providing Bond Hearing

20            Class members specific, particularized written findings contemporaneously issued by

21            the immigration judge as to the basis for denying release from detention, including

22            findings identifying the basis for finding that the individual is a flight risk or a danger

23            to the community.

24         M. Order Defendants to pay reasonable attorneys’ fees and costs.

25         N. Order all other relief that is just and proper.

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     THIRD AMENDED COMPL. - 26                                  NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:18-cv-928 MJP                                                615 Second Avenue, Suite 400
                                                                                        Seattle, WA 98104
                                                                                 Telephone (206) 957-8611
 1   Dated this 20th day of May, 2019.

 2    s/ Matt Adams                      s/ Trina Realmuto
      Matt Adams, WSBA No. 28287         Trina Realmuto*
 3

 4    s/ Leila Kang                      s/ Kristin Macleod-Ball
      Leila Kang, WSBA No. 48048         Kristin Macleod-Ball*
 5
      s/ Aaron Korthuis                  AMERICAN IMMIGRATION COUNCIL
 6    Aaron Korthuis, WSBA No. 53974     1318 Beacon Street, Suite 18
                                         Brookline, MA 02446
 7
      NORTHWEST IMMIGRANT RIGHTS         (857) 305-3600
 8    PROJECT                            trealmuto@immcouncil.org
      615 Second Avenue, Suite 400       kmacleod-ball@immcouncil.org
 9    Seattle, WA 98104
      (206) 957-8611
10    matt@nwirp.org                     s/ Judy Rabinovitz
11    leila@nwirp.org                    Judy Rabinovitz*
      aaron@korthuis.org
12                                       s/ Michael Tan
                                         Michael Tan*
13    s/ Emily Chiang
      Emily Chiang, WSBA No. 50517       s/ Anand Balakrishnan
14    ACLU OF WASHINGTON                 Anand Balakrishnan*
15    901 5th Ave #630
      Seattle, WA 98164                  ACLU IMMIGRANTS’ RIGHTS PROJECT
16    (206) 624-2184                     125 Broad Street, 18th floor
      echiang@aclu-wa.org                New York, NY 10004
17                                       (212) 549-2618
                                         jrabinovitz@aclu.org
18                                       mtan@aclu.org
19                                       abalakrishnan@aclu.org

20                                       *Admitted pro hac vice

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     THIRD AMENDED COMPL. - 27                   NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:18-cv-928 MJP                                 615 Second Avenue, Suite 400
                                                                         Seattle, WA 98104
                                                                  Telephone (206) 957-8611
 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on May 20, 2019, I had the foregoing electronically filed with the
 3
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to those
 4
     attorneys of record registered on the CM/ECF system. All other parties (if any) shall be served
 5
     in accordance with the Federal Rules of Civil Procedure.
 6
            DATED this 20th day of May, 2019.
 7

 8
                                                  s/ Matt Adams
 9                                                Matt Adams
                                                  NORTHWEST IMMIGRANT RIGHTS PROJECT
10                                                615 Second Avenue, Suite 400
11                                                Seattle, Washington 98104
                                                  Telephone: (206) 957-8611
12                                                Facsimile: (206) 587-4025
                                                  Email: matt@nwirp.org
13

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     THIRD AMENDED COMPL. - 28                                  NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:18-cv-928 MJP                                                615 Second Avenue, Suite 400
                                                                                        Seattle, WA 98104
                                                                                 Telephone (206) 957-8611
